                                          Case 5:22-mc-80205-SVK Document 11 Filed 09/13/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     MOHAMED SUUFI, et al.,                            Case No. 22-mc-80205-SVK
                                   8                   Plaintiffs,
                                                                                           ORDER RE IN-PERSON HEARING ON
                                   9             v.                                        MOTION TO COMPEL
                                  10     MEDIALAB.AI, INC.,                                Re: Dkt. No. 10
                                  11                   Defendant.

                                  12          The Court is in receipt of the joint stipulation to continue the hearing on the pending
Northern District of California
 United States District Court




                                  13   motion to compel compliance with Plaintiffs’ subpoena. Dkt. 10. The Court is unavailable for a

                                  14   discovery hearing September 21-23, 2022. Plaintiffs and Non-Party Meta Platforms, Inc.

                                  15   (“Meta”) may appear in-person either Friday, September 16, 2022, at 10:00 a.m. (as noticed) or

                                  16   Tuesday, September 20, 2022, at 10:00 a.m. As indicated, on either date the hearing will be in-

                                  17   person. Plaintiffs and Meta must advise the Courtroom Deputy by email of their choice of date by

                                  18   4:00 p.m. tomorrow, September 14, 2022.

                                  19          SO ORDERED.

                                  20   Dated: September 13, 2022

                                  21

                                  22
                                                                                                    SUSAN VAN KEULEN
                                  23                                                                United States Magistrate Judge
                                  24

                                  25

                                  26
                                  27

                                  28
